               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:13 cr 09-5


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )          ORDER
                                             )
PATRICIA LEIGH DREML.                        )
______________________________________       )


        THIS CAUSE coming on to be heard before the undersigned pursuant to a

letter (#229) sent by Defendant to the Clerk of this Court dated November 13, 2013

which the Court has considered as a motion for substitution of counsel. After

receiving the letter, the undersigned scheduled a hearing and conducted a hearing

concerning the motion on November 20, 2013. Being concerned that confidential

communications could be revealed during the hearing of the motion, the

undersigned sealed the proceedings and excluded all persons from the courtroom

except the Defendant, her attorney and appropriate court personnel. During the

conversation that the undersigned conducted with the Defendant, the Defendant

advised that she wished to withdraw her request for substitution of counsel. The

undersigned questioned Defendant to insure that the decision to withdraw the

motion was the independent decision of the Defendant and after being assured by




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the Defendant that was the case, the undersigned reopened the courtroom and then

granted the request to withdraw her motion for substitution of counsel.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the letter (#229) of Defendant

which has been considered as a motion for substitution of counsel is hereby

considered to be withdrawn and is DENIED.

                                              Signed: November 21, 2013




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